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  17                            UNITED STATES DISTRICT COURT
  18                          SOUTHERN DISTRICT OF CALIFORNIA
  19 DARRYL DUNSMORE, ANDREE                               Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  20 JAMES CLARK, ANTHONY EDWARDS,                         PLAINTIFFS’ REPLY IN
     REANNA LEVY, JOSUE LOPEZ,                             SUPPORT OF PLAINTIFFS’
  21 CHRISTOPHER NORWOOD, JESSE                            MOTION FOR INTERIM
     OLIVARES, GUSTAVO SEPULVEDA,                          ATTORNEYS’ FEES AND
  22 MICHAEL TAYLOR, and LAURA                             COSTS
     ZOERNER, on behalf of themselves and all
  23 others similarly situated,                            Judge: Hon. Anthony J. Battaglia
                   Plaintiffs,
  24                                                       Date: May 8, 2025
            v.                                             Time: 2:00 p.m.
  25 SAN DIEGO COUNTY SHERIFF’S                            Crtrm.: 4A
     DEPARTMENT, COUNTY OF SAN
  26 DIEGO, SAN DIEGO COUNTY
     PROBATION DEPARTMENT, and DOES
  27 1 to 20, inclusive,
                   Defendants.
  28
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   1         The U.S. Congress enacted the fee shifting provisions under the ADA, 42
   2 U.S.C. § 12205 “to ensure that nonaffluent plaintiffs would have ‘effective access’
   3 to the Nation’s courts to enforce” the ADA. K.M. ex rel. Bright v. Tustin Unified
   4 Sch. Dist., 78 F. Supp. 3d 1289, 1299-1300 (C.D. Cal. 2015). After over three years
   5 of vigorous litigation, thanks to the unwavering support of this Court (overseeing
   6 more than 17 settlement conferences) and the diligence and skill of Plaintiffs’
   7 counsel, the indigent members of the disability subclass have achieved that access.
   8         Without citation to record evidence, Defendants’ Opposition seeks to rewrite
   9 history, incorrectly claiming that Plaintiffs’ counsel put their own interest ahead of
  10 the disability sub-class, sought to enrich themselves, and refused to help effectuate
  11 changes. As demonstrated below and in the declarations filed in support and in
  12 reply, these allegations are inaccurate. They also fail to assist this Court in deciding
  13 this fee motion. The only issues before the Court are whether the claimed fees and
  14 costs are reasonable. They unquestionably are.
  15         The unrebutted evidence shows that Defendants knew in 2016 that the Jail
  16 was out of compliance with the ADA and that no other law firms had the requisite
  17 experience or will to prosecute Plaintiffs’ ADA claim against the San Diego jail
  18 system. Defendants concede that Plaintiffs’ counsel are experts in jail ADA
  19 litigation and do not identify any other firm that would have litigated this action.
  20         Defendants’ contention that Plaintiffs’ counsel’s requested rates should be
  21 reduced because this is a “simple” ADA case is belied by testimony from prominent
  22 California disability access lawyers as well as the record in this case. This criticism
  23 that the underlying case is “not complex” is a routine playbook employed by
  24 Defendants’ fees expert, John O’Connor, which has been soundly rejected by
  25 numerous courts. Many federal and state courts in California have strongly
  26 discredited Mr. O’Connor’s hourly rates testimony, finding his opinion to have no
  27 support in the record. Defendants’ proposed hourly rates are also internally
  28 inconsistent and based off entirely inapposite single-issue physical access ADA
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   1 cases by one firm that has been repeatedly sanctioned.
   2                 Defendants’ contentions about Plaintiffs’ counsel’s staffing and litigation
   3 strategy are without merit. Simultaneously advancing litigation and settlement was
   4 necessary for Plaintiffs to obtain the remedies secured. Defendants’ inaccurate
   5 complaints about unreasonable or excessive hours, even if true, total less than 1.2%
   6 of the claimed amount, and are already addressed by discrete billing judgment
   7 reductions as well as the 5% across-the-board cut included in Plaintiffs’ fees motion
   8 that amount to over 13% of the lodestar value of the total time spent on the merits.
   9 I.              Plaintiffs’ Counsel’s Requested Rates Are Appropriate
  10                 A.    Defendants’ Claim that this Case Is Not Complex Is Meritless
  11                 Defendants’ only evidence that this “is not a complex case” (Opp. at 4) is the
  12 declaration of their fees expert, John O’Connor, who wrongly claims that
  13 Defendants “did not oppose class treatment” (see oppositions to provisional class
  14 certification at Dkts. 153, 311) and that this ADA case was not as complex as Bloom
  15 v. City of San Diego. O’Connor Decl. ¶¶ 22-24. Mr. O’Connor has made the same
  16 unsupported arguments that he makes here in many cases, which have been rejected
  17 by numerous courts. Pearl Reply Decl. ¶¶ 11-15 & Ex. A; see, e.g., Perfect 10 v.
  18 Giganews, 2015 WL 1746484, at *16-20 (C.D. Cal. Mar. 24, 2017), aff’d 847 F.3d
  19 657 (9th Cir. 2015). At least one court has discredited Mr. O’Connor’s opinion on
  20 rates in an ADA action, finding that “[h]e states that he has litigated
  21 (unsuccessfully) one ADA case in 2000,” and explaining that his “own litigation
  22 career and experience with attorneys’ fees … focuses primarily on non-disability,
  23 non-civil rights actions[.]” Johnson v. Baird Lands, Inc., 2020 WL 3833278, at *3
  24 (N.D. Cal. July 8, 2020) (concluding that “Mr. O’Connor’s declaration is not helpful
  25 here.”). Prominent disability access attorneys testify that this matter is complex,
  26 including the attorney whose firm litigated Bloom. Parks Reply Decl. ¶¶ 2-4; see
  27 also Grunfeld Decl. ¶¶ 40-105, 110-114; Mendelson Reply Decl. ¶¶ 5-11; Center
  28 Reply Decl. ¶¶ 3-5.
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   1         B.    Plaintiffs’ Requested Rates Are Within the San Diego Market
   2         Defendants incorrectly contend “[t]he [d]eclarations submitted in this case say
   3 nothing regarding the rates in the ‘prevailing market’—i.e., the billing rates at San
   4 Diego County law firms.” Opp. at 12. Plaintiffs provided ample evidence showing
   5 that the requested rates are consistent with prevailing rates in the San Diego market
   6 for work of similar complexity performed by counsel of similar skill, experience,
   7 and reputation, including rates awarded in numerous San Diego cases. Pearl Decl.
   8 ¶¶ 24, 33, 36; Young Decl. ¶¶ 10, 19; see also Pearl Reply Decl. ¶¶ 35-52.
   9         Mr. O’Connor proposes that Plaintiffs’ counsel’s hourly rates be pegged to
  10 run-of-the-mill ADA access cases. O’Connor Decl. ¶¶ 22-35, 44-51. As explained
  11 above, his argument that this case was simple cannot be squared with the record, and
  12 this type of criticism is part of his playbook that courts have strongly rejected. See
  13 Pearl Reply Decl. ¶¶ 11-15, 37-48. Mr. O’Connor’s only source of what he calls the
  14 applicable ADA access fees scale is his comparison to a single firm, Potter Handy
  15 LLP. O’Connor Decl. ¶¶ 45, 47, 49-50. The comparison to Potter Handy, a firm
  16 that has been repeatedly sanctioned, and that litigates small ADA cases on behalf of
  17 single individuals challenging only one or a handful of barriers at local
  18 establishments, is wholly inapposite. See Pearl Reply Decl. ¶¶ 33-47; Center Reply
  19 Decl. ¶ 5 (“[T]his area of practice is not comparable to litigating systemic challenges
  20 under Title II of the ADA and Section 504 of the Rehabilitation Act on a class-wide
  21 basis against large, complex, multi-facility systems of detention or incarceration”);
  22 Mendelson Reply Decl. ¶¶ 9-10 (“Bringing a prison or jail system into compliance
  23 with the ADA, Rehabilitation Act and related state law is entirely different from the
  24 kind of litigation undertaken by the law firm Potter Handy.”).
  25         Mr. O’Connor also relies on survey data from the National Association of
  26 Legal Fee Analysis (“NALFA”), an organization of which Mr. O’Connor is one of
  27 only four members, in support of his proposed rates. O’Connor Decl. ¶¶ 52-
  28 59 & Ex C; see Pearl Reply Decl. ¶49. However, this data in no way undermines
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   1 Plaintiffs’ requested rates because, among other things, it improperly excludes rates
   2 charged by large law firms for complex civil litigation, and his assignment of
   3 percentiles to specific timekeepers appears to be plucked out of thin air. Pearl Reply
   4 Decl. ¶¶ 49-50, 60; see also id. ¶¶ 51-52 (similarly analyzing Real Rate Report).
   5         Defendants also incorrectly assert that “[t]he only legitimate purpose of DLA
   6 Piper, a local firm, was to send local attorneys and law clerks to interview
   7 Incarcerated Persons.” Opp. at 6. DLA Piper attorneys assisted with many case
   8 responsibilities, including assisting with FRCP Rule 30(b)(6) depositions, drafting
   9 declarations, and providing advice on litigation decisions (related to both the ADA
  10 claim and other claims) based upon DLA Piper’s many years litigating class actions
  11 and its deep knowledge of the Southern District of California local rules and
  12 practices. Young Reply Decl. ¶¶ 2-5. Mr. O’Connor contends that “DLA has shown
  13 no expertise in the particular field” (O’Connor Decl. ¶ 60), neglecting to consider
  14 DLA Piper’s accolades as one of the premier class action practices in the nation as
  15 well as its lengthy experience litigating class claims against the Nebraska prison
  16 system. Young Decl. ¶ 6; Young Reply Decl. ¶ 2; see Pearl Reply Decl. ¶ 61 (pro
  17 bono counsel awarded full market rates).
  18         C.    RBGG and Fischer Are Entitled to Their Bay Area Rates
  19         To be entitled to recover San Francisco rates, Plaintiffs must show that
  20 competent counsel in San Diego were unavailable. Prison Legal News v. Ryan,
  21 2023 WL 9190364, at *1 (9th Cir. Mar. 21, 2023) (awarding RBGG its Bay Area
  22 rates for work in Arizona); Parsons v. Ryan, 949 F.3d 443, 466 (9th Cir. 2020);
  23 Gates v. Deukmejian, 987 F.2d 1392, 1405 (9th Cir. 1992).
  24         Mr. O’Connor incorrectly opines that Plaintiffs did not submit sufficient
  25 evidence to support their claims of unavailability of local counsel. O’Connor Decl.
  26 ¶ 43. However, Plaintiffs’ Counsel submitted three declarations with their Motion
  27 that specifically addressed this issue, and an additional declaration from the
  28 Executive Director of the Prison Law Office with this Reply. Young Decl. ¶ 7;
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   1 Grunfeld Decl. ¶ 42; Pearl Decl. ¶ 17; see also Mendelson Reply Decl. ¶¶ 13-14.
   2         Defendants agree that “Ms. Grunfeld and Mr. Fischer are experts in litigation
   3 against prisons and jails throughout California.” Opp. at 11. Yet Defendants’
   4 Opposition and Mr. O’Connor’s declaration are both silent as to the hourly rates that
   5 should apply if the Court determines that home office rates are appropriate for
   6 RBGG and Mr. Fischer. Plaintiffs’ Motion provides substantial evidence that their
   7 requested 2025 rates are within the range of rates for attorneys in the San Francisco
   8 Bay Area of comparable skill, qualifications, reputation, and experience paid hourly
   9 in non-contingent cases, and that Courts routinely award their rates in comparable
  10 cases litigated within and outside the Bay Area. Mot. at 15-17; see Pearl Reply
  11 Decl. ¶¶ 33-34. Neither Defendants nor Mr. O’Connor disagrees that current 2025
  12 rates should be awarded. See generally Opp. and O’Connor Decl.
  13         D.    Defendants’ Proposed Rates Are Internally Inconsistent, Fail to
                   Account for Experience, and Conflict with Past Court Awards
  14
  15         Mr. O’Connor opines that “Mr. Fischer has great experience in various case
  16 issues,” that “Ms. Grunfeld is obviously experienced in civil rights litigation,” and
  17 that Mr. Rosen is “skilled … at civil rights litigation.” O’Connor Decl. ¶¶ 55-56.
  18 But Defendants’ proposed rates fail to account for the relative amount of experience
  19 of each. Defendants propose that Ms. Grunfeld and Mr. Fischer receive the same
  20 rate (O’Connor Decl. ¶ 55) despite the fact that Ms. Grunfeld has approximately
  21 twice as much experience as Mr. Fischer. See Grunfeld Decl., Ex. A; Fischer Decl.,
  22 Ex. A. Defendants propose Mr. Rosen receive a rate lower than Ms. Grunfeld and
  23 Mr. Fischer’s rate (O’Connor Decl. ¶¶ 55-56) despite the fact that Mr. Rosen has
  24 significantly more experience than both of them. See Grunfeld Decl., Ex. B; see
  25 also Rosen Reply Decl. ¶¶ 4-22. Defendants propose Mr. Young receive a rate
  26 lower than a sixth-year RBGG associate (O’Connor Decl. ¶¶ 58, 60) despite the fact
  27 that Mr. Young has over thirty years of experience, primarily in class action
  28 litigation. See Young Decl. ¶ 6 & Ex. A. Defendants propose that all DLA
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   1 associates receive the same rates regardless of experience. O’Connor Decl. ¶ 60.
   2 These proposals are internally inconsistent, and contrary to rates that have been
   3 awarded to Plaintiffs’ counsel by numerous courts. Pearl Reply Decl. ¶¶ 53-62.
   4 II.     Plaintiffs’ Counsel’s Hours Were Necessary for the Relief Obtained
   5         After discrete billing judgment reductions of approximately 9% to Plaintiffs’
   6 claimed merits time, Plaintiffs applied an additional 5% across-the-board reduction
   7 to further account for any time that might possibly be considered duplicative,
   8 administrative, excessive, or otherwise incorrectly included. Mot. at 19-20;
   9 Swearingen Decl. ¶ 9; c.f. Cruz ex rel. Cruz v. Alhambra Sch. Dist., 601 F. Supp. 2d
  10 1183, 1193 (C.D. Cal. 2009) (applying 5% reduction to account for hours that “are
  11 at least somewhat excessive”). In total, Plaintiffs’ counsel made billing judgments
  12 that have reduced the merits work lodestar by $319,767.38, a 14% reduction.
  13 Mot. at 20. Defendants fail to take any of these reductions into account. Pearl
  14 Reply Decl. ¶ 65. Defendants’ complaints about excessive time and overstaffing are
  15 meritless; however, even if they were all valid, such excess hours are already
  16 accounted for in Plaintiffs’ unacknowledged reductions. Id. ¶¶ 69-93.
  17         A.    Defendants Rejected an ENE on All ADA Issues Until After
                   Plaintiffs Filed Their Motion for Preliminary Injunction
  18
  19         Defendants’ Opposition incorrectly asserts that Plaintiffs’ refused
  20 Defendants’ settlement overtures “until they had billed for and filed the renewed
  21 injunction request in April of 2023.” Opp. at 8; see also O’Connor Decl. ¶¶ 71, 79,
  22 81 (recommending a 40% discount to claimed hours in this “stage” because
  23 Plaintiffs did not “immediately” settle). In fact, in December 2022, Defendants
  24 rejected Plaintiffs’ proposal to have an ENE as to the entirety of Plaintiffs’ ADA
  25 claim (physical barriers and access to services/programs at all facilities), and instead
  26 proposed an ENE only as to physical barriers at only one of the seven jail facilities.
  27 Swearingen Reply Decl. ¶ 16. Three weeks prior to filing Plaintiffs’ motion for
  28 preliminary injunction as to ADA issues, Defendants rejected Plaintiffs’ offer to
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   1 have an ENE “with Court oversight of the process” in lieu of litigating the motion.
   2 Id. at ¶ 19. Defendants would only agree to discuss physical barriers at two jail
   3 facilities, and demanded that the parties’ experts and attorneys try to resolve the
   4 issues first, without Court oversight. Id. at ¶¶ 20-21. After the motion was filed, the
   5 parties’ experts and their attorneys met but were unable to resolve Plaintiffs’ ADA
   6 claim without further assistance by the Court. Id. at ¶ 25. Over the course of the
   7 next year and a half, the parties participated in at least seventeen Court-supervised
   8 settlement conferences. Id. As the record shows, Court supervision of the process
   9 was necessary to settle the entirety of Plaintiffs’ ADA claim. Cf. Moreno v. City of
  10 Sacramento, 534 F. 3d 1106, 1112 (9th Cir. 2008) (explaining that “lawyers are not
  11 likely to spend unnecessary time on contingency fee cases in the hope of inflating
  12 their fees. The payoff is too uncertain.”); Nat'l Fed'n of Blind of California v. Uber
  13 Techs., Inc., 2016 WL 10920461, at *2 (N.D. Cal. Dec. 6, 2016) (finding RBGG’s
  14 hours reasonable where they simultaneously pursued litigation and settlement).
  15        B.     Plaintiffs Prevailed on Discovery Disputes that Defendants Claim
                   Were Unsuccessful
  16
  17        Defendants suggest that there was no need for all the discovery served by
  18 Plaintiffs (Opp. at 14); however, they fail to identify a single unnecessary ADA
  19 discovery request. In fact, Plaintiffs obtained the majority of the discovery sought
  20 in relation to their ADA claim. Swearingen Reply Decl. ¶ 2. The Court even
  21 permitted ADA discovery requested on an expedited basis. Id.; see also id. ¶ 13
  22 (establishing that Plaintiffs’ two motions for expedited discovery were not “almost
  23 identical” as alleged in the Opposition at 7). The Court granted ADA-related
  24 discovery requests in other contested discovery motions as well. Id. ¶ 2.
  25        Defendants contend that Plaintiffs “were denied their overbroad original ask”
  26 at “[e]very [ADA-related] informal discovery conference.” Opp. at 14. This is
  27 incorrect. For example, over Defendants’ objections, the Court granted Plaintiffs’
  28 requests to have their ADA expert speak with employees and incarcerated people
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   1 during inspections, and to receive floor plans and a roster of incarcerated persons
   2 with notes regarding their “type of disability.” Swearingen Reply Decl. ¶ 3.
   3        Defendants incorrectly argue that “[t]he Court denied [Plaintiffs’ Motion to
   4 Compel (Dkt. 489-1)] as to every disability-related request except No. 167, and
   5 narrowed it significantly to nothing more than a participation log and list of
   6 programs.” Opp. at 16. Plaintiffs’ discovery motion was directed at over 50
   7 individual Requests for Production (“RFPs”); however, only three of those 50
   8 requests related to ADA issues. Swearingen Reply Decl. ¶ 4. For two of those three
   9 RFPs, the Court ordered Defendants to produce some responsive documents because
  10 Defendants had refused to produce any responsive documents. Id. The Court
  11 denied further discovery on those three requests because Defendants’ counsel
  12 represented that key responsive documents had already been produced. Id.
  13 Mr. O’Connor proposes a 40% cut to a significant portion of Plaintiffs’ lodestar in
  14 part because “discovery billings are particularly excessive, given the expansive
  15 discovery sought that was ultimately narrowed by the Court.” O’Connor Decl. ¶ 79.
  16 However, Plaintiffs’ counsel claimed no time in the instant fee motion for work on
  17 that discovery motion or attending the hearing. Swearingen Reply Decl. ¶ 4.
  18        C.     Plaintiffs’ Staffing and Conferencing Time Was Reasonable
  19        Defendants charge Plaintiffs’ counsel with overstaffing, and suggest that the
  20 defense of this case was handled by two lawyers. Opp. at 4, 5-6, 17-18. In fact,
  21 Plaintiffs have interacted with at least 25 lawyers for Defendants and/or their
  22 medical providers, and the number of defense attorneys and representatives at
  23 settlement conferences and jail inspections was typically the same (if not more) than
  24 the number from Plaintiffs’ side. Swearingen Reply Decl. ¶¶ 9-11. In any event,
  25 multiple attorneys conferencing, attending important case events, and working
  26 together on significant projects is the norm in complex cases like this one and is
  27 commonly paid for by fee paying clients. Pearl Reply Decl. ¶¶ 81-82; see also
  28 Democratic Party of Washington State v. Reed, 388 F.3d 1281, 1286 (9th Cir. 2004)
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   1 (“[P]articipation of more than one attorney does not necessarily amount to
   2 unnecessary duplication of effort”). Luna v. FCA US LLC, 2020 WL 491462 (C.D.
   3 Cal. Jan. 30, 2020) is inapposite; there, twelve time keepers claimed “egregious
   4 amounts of time” for work adapting “boilerplate pleadings and discovery” in a
   5 straightforward case about a defective vehicle purchase. Id. at *4.
   6         Defendants criticize Plaintiffs’ counsel’s staffing at three of the five expedited
   7 Rule 30(b)(6) depositions that Plaintiffs conducted. Opp. at 22. While the number
   8 of attorneys present was proper under the circumstances, the 29 hours of time for
   9 two additional attorneys amounts to 1.08% of the total claimed merits time—and is
  10 subsumed under billing reductions already made. Grunfeld Reply Decl. ¶¶ 8-10.
  11         D.    Plaintiffs’ Claimed Hours Are Neither Excessive Nor Unnecessary
  12         Defendants complain about fees related to Plaintiffs’ attempt to depose
  13 Sheriff Martinez and for work on the “Seventh Claim for Overincarceration of
  14 Disabled People.” Opp. at 18, 20. Plaintiffs inadvertently claimed 0.5 hours for
  15 work on Sheriff Martinez’ deposition and 1.1 hours on Plaintiffs’ Seventh Claim,
  16 totaling less than six one-hundredths of one percent (0.059%) of claimed time, much
  17 less than the billing reduction already taken. Swearingen Reply Decl. ¶¶ 6-7.
  18 Defendants criticize Plaintiffs’ counsel for attending a hearing before Judge Leshner
  19 (Opp. at 14-15), but the instant fee motion claimed no time for that hearing. Id. ¶ 5.
  20 Mr. O’Connor proposes a 20% reduction for “Stage 1” work that “relates to matters
  21 other than ADA issues[,]” O’Connor Decl. ¶ 70; however, he fails to identify a
  22 single non-ADA entry and Plaintiffs are unaware of any. Swearingen Reply Decl.
  23 ¶ 8. Similarly, Defendants fail to identify any specific billing entries that they
  24 contend are “vague.” Opp. at 18-19.
  25 III.    Plaintiffs’ Fees-for-Fees Work Is Compensable and Appropriate
  26         Plaintiffs adequately documented the time incurred on this fee application.
  27 Mot. at 22-24. Defendants’ Opposition does not challenge Plaintiffs’ claimed fees-
  28 for-fees time. Mr. O’Connor criticizes the number of timekeepers who worked on
     [4657326.4]                              9                Case No. 3:20-cv-00406-AJB-DDL
        PLAINTIFFS’ REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR INTERIM ATTORNEYS’ FEES AND
                                               COSTS
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   1 the fee application and describes 41.6 hours for communications among counsel and
   2 with Plaintiffs’ fees expert as “excessive.” O’Connor Decl. ¶ 84. Among other
   3 errors, he does not take into account Plaintiffs’ 24.9% billing judgment reductions to
   4 the fees-for-fees lodestar. See Mot. at 23-24. Plaintiffs’ counsel efficiently used
   5 attorneys in preparing the fees application, and communication was necessary given
   6 the need to coordinate the presentation of three firms’ time entries and seven
   7 supporting declarations. Swearingen Reply Decl. ¶ 12; Pearl Reply Decl. ¶¶ 88-93;
   8 see also Nadarajah v. Holder, 569 F.3d 906, 924-25 (9th Cir. 2009).
   9 IV.             Plaintiffs’ Claimed Costs are Compensable and Appropriate
  10                 Defendants do not contest Plaintiffs’ ADA expert costs. Opp. at 13-14. The
  11 only cost entries identified by Defendants as excessive are 4:00 a.m. Town Car rides
  12 (Opp. at 21), which were necessary to ensure Plaintiffs’ counsel’s on-time airport
  13 departure to arrive at settlement conferences in San Diego by 9:00 a.m. Grunfeld
  14 Reply Decl. ¶¶ 2-5. Defendants offer no support for their proposed 25 to 50% cut to
  15 Plaintiffs’ other non-expert costs (Opp. at 22), and the Court should reject it.
  16 Plaintiffs inadvertently included $4,752.50 in costs that should not be included in
  17 the cost award. Grunfeld Reply Decl. ¶¶ 6-7.
  18 V.              Plaintiffs Will Supplement Their Merits and Fees Claim at a Later Time
  19                 Plaintiffs intend to file a supplemental application for merits and fees work
  20 since January 20, 2025 after the Court issues its orders on the joint motion for final
  21 approval of the ADA Settlement Agreement and this motion. Swearingen Reply
  22 Decl. ¶¶ 26-29. Should the Court request, Plaintiffs will do so sooner. Id.
  23                                             CONCLUSION
  24                 The Court should reject Defendants’ objections and award Plaintiffs
  25 $2,111,562.63 for merits work, $158,002.58 for fees work, and $471,716.85 in costs
  26 (the original cost award request minus $4,752.50, as discussed in Section IV, supra)
  27 through January 20, 2025.
  28 / / /
       [4657326.4]                                  10                Case No. 3:20-cv-00406-AJB-DDL
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   1 DATED: March 20, 2025                     Respectfully submitted,
   2
                                               ROSEN BIEN GALVAN & GRUNFELD LLP
   3
   4                                           By: /s/ Gay Crosthwait Grunfeld
   5                                               Gay Crosthwait Grunfeld
   6
                                               Attorneys for Plaintiffs and the Certified Class
   7                                           and Subclasses
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